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8                             IN THE UNITED STATES DISTRICT COURT

9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                   ) Case No. 2:10-cr-437-WBS-11
11                                               )
           Plaintiff,                            ) ORDER
12                                               )
     vs.                                         )
13                                               )
     ANDRE KOVACS,                               )
14                                               )
           Defendant.                            )
15                                               )
                                                 )
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18          Having considered the petition, and the justification provided for the request for

19   disclosure of each item listed in the petition, the Court hereby authorizes and orders disclosure of
20   the requested presentence report and related documents to defense counsel. Copies of all such
21
     documents shall also be disclosed to the United States Attorney
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     Dated: June 29, 2016
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